             Case 2:17-cv-01182-TSZ Document 377 Filed 11/06/20 Page 1 of 1




 1

 2

 3

 4

 5                         UNITED STATES DISTRICT COURT
                          WESTERN DISTRICT OF WASHINGTON
 6                                  AT SEATTLE

 7
       IRONBURG INVENTIONS LTD.,
 8                          Plaintiff,
                                                      C17-1182 TSZ
 9         v.
                                                      MINUTE ORDER
10     VALVE CORPORATION,
11                          Defendant.

12
        The following Minute Order is made by direction of the Court, the Honorable
13 Thomas S. Zilly, United States District Judge:
          (1)    A telephonic status conference is SET for Friday, November 13, 2020, at
14
   10:00 a.m. Counsel will be provided dialing instructions via email. Counsel shall be
   prepared to discuss scheduling this matter for a virtual jury trial in January 2021. For
15
   more information about virtual proceedings, please see the Order dated September 16,
   2020, in Dallo v. Holland America Line N.V., LLC, W.D. Wash. Case No. C19-865 TSZ
16
   (docket no. 53), and visit https://www.wawd.uscourts.gov/attorneys/remotehearings.
17          (2)   The Clerk is directed to send a copy of this Minute Order to all counsel of
     record.
18
            Dated this 6th day of November, 2020.
19

20                                                   William M. McCool
                                                     Clerk
21
                                                     s/Gail Glass
22                                                   Deputy Clerk

23

     MINUTE ORDER - 1
